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          July 22, 2021                                                               Electronically Filed & Served

          Clerk of Court
          U.S. District Court for the District of Idaho
          McClure Federal Bldg. & U.S. Courthouse
          550 W. Fort Street
          Boise, ID 83724

                    Re:    McCallister v. Evans, et al., No. 4:20-cv-112-DCN (D. Idaho)
                           Citation of Supplemental Authorities Under Bankruptcy Rule 8014(f)

          To the Clerk of Court—

                 As counsel for Trustee-Appellant Kathleen McCallister, I write to spotlight
          a “pertinent and significant authorit[y]” decided after briefing in the above-captioned
          bankruptcy appeal (Evans). Fed. Bankr. R. 8014(f).

                 On July 20, 2021, in In re Harmon, BAP No. 20-1168, slip op. (BAP 9th Cir.)
          (attached), the U.S. Bankruptcy Appellate Panel of the Ninth Circuit decided in Trustee
          McCallister’s favor on the same question now before this Court in Evans: “whether
          a standing chapter 13 trustee is entitled to her statutory fee upon receipt of each plan
          payment” even if “[a] case is dismissed prior to confirmation.” Id. at 2.

                    The BAP answers ‘yes’ for three main reasons:

                 First: 28 U.S.C. §586(e)’s “plain meaning” is that a chapter 13 trustee “obtains
          payment” of her fee “when she collects the fee.” Id. at 14. A chapter 13 trustee “[does]
          not … gather the fee and hold it pending some future event”—a reality confirmed by
          §586(e)’s context, related statutes, and the statutory scheme. Id. at 13-19. This analysis
          supports the Trustee’s plain-text reading of §586(e). See Trustee Br.12-19.

                 Second: Section 586(e) “is not made ambiguous when construed with [11
          U.S.C.] §1326.” BAP Op.22. Section 1326 controls “amounts allocated to pay creditors
          and administrative claims under the plan, after the standing trustee has collected her
          percentage fee.” Id. at 21-22 (bold added). Section 1326 thus cannot be read to “require[]
          the trustee to return [her] percentage fee to a debtor upon dismissal.” Id. This analysis
          supports the Trustee’s plain-text reading of §1326. See Trustee Br.25-28.
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            Third: 11 U.S.C. §1226 (i.e., Chapter 12) “do[es] not create a negative inference”
     that chapter 13 trustee fees are returnable. BAP Op.23. Rather, §1226 simply “reiterat[es]
     the fact that once plan payments are made to a standing trustee, she shall ‘collect such
     percentage fee’ from those funds.” Id. at 24. This analysis supports the Trustee’s view
     that Chapter 12 and Chapter 13 each “solves in its own way the problem of guaranteeing
     percentage-fee collection before plan confirmation.” Trustee Br.29-30.

            The Trustee therefore respectfully suggests that the Court follow Harmon and
     reverse the bankruptcy court here on this basis.

                                                     Sincerely,

                                                     /s/Mahesha P. Subbaraman

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                                                     Counsel for Trustee-Appellant
                                                     Kathleen A. McCallister


                                      CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on July 22, 2021, I filed the foregoing letter
     electronically through the CM/ECF system, causing the following parties or counsel to
     be electronically served as more fully reflected on the Notice of Electronic Filing:

          •     Alexandra O. Caval—Counsel for Debtors-Appellees Roger A. Evans & Lori A.
                Steedman—alex@cavallawoffice.com

          •     Kathleen A. McCallister & Jeffrey P. Kaufman—Counsel for Trustee-Appellant
                Kathleen A. McCallister—kam@kam13trustee.com

                                                          /s/Mahesha P. Subbaraman
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                                                                                   JUL 20 2021
                          NOT FOR PUBLICATION                                 SUSAN M. SPRAUL, CLERK
                                                                                 U.S. BKCY. APP. PANEL
                                                                                 OF THE NINTH CIRCUIT

           UNITED STATES BANKRUPTCY APPELLATE PANEL
                     OF THE NINTH CIRCUIT

 In re:                                             BAP No. ID-20-1168-LSG
 DOUGLAS JEROME HARMON;
 CHRISTINE RENNA HARMON,                            Bk. No. 1:19-bk-01424-TLM
              Debtors.

 KATHLEEN A. MCCALLISTER, Chapter
 13 Trustee,
              Appellant,
 v.                               MEMORANDUM*
 DOUGLAS JEROME HARMON;
 CHRISTINE RENNA HARMON,
              Appellees.

                Appeal from the United States Bankruptcy Court
                           for the District of Idaho
                 Terry L. Myers, Bankruptcy Judge, Presiding

Before: LAFFERTY, SPRAKER, and GAN, Bankruptcy Judges.

Memorandum by Judge Gan
Concurrence by Judge Spraker
Dissent by Judge Lafferty




      *
        This disposition is not appropriate for publication. Although it may be cited for
whatever persuasive value it may have, see Fed. R. App. P. 32.1, it has no precedential
value, see 9th Cir. BAP Rule 8024-1.
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                                  INTRODUCTION

       In this appeal we are confronted with an issue of first impression in

the Ninth Circuit: whether a standing chapter 131 trustee is entitled to her

statutory fee upon receipt of each plan payment, or if she must hold her fee

pending confirmation, and return it to the debtor if the case is dismissed

prior to confirmation.

       Chapter 13 trustee Kathleen McCallister (“Trustee”) appeals the

bankruptcy court’s order denying payment of her statutory fee after

dismissal of the debtors’ case and the court’s denial of her motion for

reconsideration. The bankruptcy court found an apparent conflict between

§ 586(e), which directs a standing trustee to collect her statutory fee from

all payments made under the plan, and § 1326(a)(2), which requires the

trustee to retain plan payments until confirmation and return those

payments to the debtor after deducting unpaid administrative claims if the

case is dismissed prior to confirmation. Construing the statutes together,

the bankruptcy court held that § 586(e) directs the trustee to “collect and

hold” the fee, while § 1326(a)(2) directs when and how to disburse

payments, including the statutory fee.




       1
        Unless specified otherwise, all references to “Section 586” or “§ 586,” or any
subsection thereof, refer to Title 28 of the United States Judicial Code. All other chapter
and section references are to the Bankruptcy Code, 11 U.S.C. §§ 101-1532. “Rule”
references are to the Federal Rule of Bankruptcy Procedure.

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      Other bankruptcy courts that have addressed this issue have

determined that because § 586(e)(2) does not indicate when a trustee must

collect the fee, or expressly state what happens if a case is dismissed prior

to confirmation, the statute is ambiguous. We find no ambiguity in the

language of § 586(e), the specific context in which the language is used, or

the broader context of the statute as a whole. The plain language of

§ 586(e)(2) means that a standing trustee is entitled to the statutory fee

upon receipt of every payment under the plan.

      Furthermore, the bankruptcy court’s ruling that § 586(e) requires a

trustee to “collect and hold” the fee is not a reasonable interpretation

because neither § 1326(a)—nor any other provision of the Bankruptcy

Code—provides for disbursement of the fee. Section 586(e)(2) is the only

statute that provides for payment of a standing trustee’s fee, and it simply

mandates that a trustee “shall collect such percentage fee from all

payments received . . . under plans.”

      We are aware that both § 1194(a)(3) and § 1226(a)(2) expressly

provide that a standing trustee may retain the fee upon a preconfirmation

dismissal, but we do not apply the negative inference canon or the canon

against surplusage to contravene plain language, or where doing so would

create its own ambiguity and surplusage. And because § 1326 was enacted

prior to § 1194 and § 1226, the weight of any negative inference is greatly

reduced.


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      Section 586(e) establishes a percentage fee which must be collected

from all chapter 13 plan payments to compensate standing trustees for

administrative tasks which they must perform regardless of whether a plan

is confirmed. The statutory fee operates independently of the

compensation and priority schemes of the Bankruptcy Code.

      We hold that a standing trustee is entitled to collect the statutory fee

under § 586(e) upon receipt of each payment under the plan and is not

required to disgorge the fee if the case is dismissed prior to confirmation.

Accordingly, we VACATE and REMAND for entry of an order consistent

with this decision.

                        FACTUAL BACKGROUND

      Debtors Douglas and Christine Harmon (“Debtors”) filed a chapter

13 case in December 2019. They did not confirm a plan, and in April 2020,

the bankruptcy court granted their voluntary motion to dismiss the case.

After the dismissal, Debtors’ counsel filed an application for compensation

of $1,839. Trustee filed a response stating that she had funds on hand of

$2,178.03 and had no objection to counsel’s fee request. No other party

objected to the application, and a proposed order was submitted to the

court, signed by Debtors’ counsel and Trustee. The order, as submitted,

provided:

      IT IS HEREBY ORDERED that Counsel’s request for attorney’s
      fees is hereby approved in the amount of $1839 with a balance
      due of $1839. Trustee is authorized to pay said fees from funds
      on hand on the date of dismissal with the balance of the funds
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       on hand to be refunded to the Debtor(s). Said disbursement
       shall be subject to Trustees [sic] fees.

       The bankruptcy court modified the order by striking out the last

sentence and adding a note stating: “[MODIFICATION MADE BY THE

COURT AS THE LANGUAGE AND RESULT ARE INCONSISTENT WITH

In re Evans, [615 B.R. 290 (Bankr. D. Idaho 2020)], 2 and In re Leal, 20-00068-

TLM. ORDER OTHERWISE AGREED TO BY THE PARTIES.]”3

       Trustee timely moved for reconsideration of disallowance of her fee.

She argued that Evans was wrongly decided, and she proffered an

interpretation of the relevant statutes that required her to be paid her

statutory fee regardless of whether a chapter 13 plan was confirmed.

       The bankruptcy court denied Trustee’s motion without a hearing,

issuing a written memorandum decision. In re Harmon, No. 19-01424-TLM,

2020 WL 6037759 (Bankr. D. Idaho June 23, 2020). Trustee timely appealed.




       2
        As discussed below, in Evans, the bankruptcy court held that, in a chapter 13
case that was dismissed pre-confirmation, the trustee was required to return her
statutory fee to the debtor along with all undistributed plan payments that were in her
possession and that were not yet due and owing to creditors. 615 B.R. at 303. Trustee
appealed that decision to the United States District Court for the District of Idaho. That
appeal, McAllister v. Evans, No. 4:20-cv-00112-DCN, filed March 4, 2020, remains
pending. According to the court docket, as of July 19, 2021, briefing had been
completed, but no decision had yet been issued.
        3 There is no written decision in Leal; Judge Myers delivered his ruling from the

 bench, denying payment of statutory fees to the trustee in a chapter 13 case dismissed
 preconfirmation, based upon the reasoning in Evans.
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                               JURISDICTION

      The bankruptcy court had jurisdiction under 28 U.S.C. §§ 1334 and

157(b)(2)(A). We have jurisdiction under 28 U.S.C. § 158.

                                     ISSUE

      Whether the bankruptcy court erred by holding that Trustee was not

entitled to a statutory fee under § 586(e) in a case that was dismissed prior

to confirmation.

                          STANDARD OF REVIEW

      We review de novo a bankruptcy court’s interpretation of the

Bankruptcy Code. Reswick v. Reswick (In re Reswick), 446 B.R. 362, 365 (9th

Cir. BAP 2011). De novo means review is independent, with no deference

given to the bankruptcy court’s conclusion. See First Ave. W. Bldg., LLC v.

James (In re Onecast Media, Inc.), 439 F.3d 558, 561 (9th Cir. 2006).

                                DISCUSSION

      Neither this Panel nor the Ninth Circuit Court of Appeals has

addressed the question before us. The majority of bankruptcy courts which

have confronted this issue have concluded, like Evans, that § 586(e) and

§ 1326(a) require a standing trustee to “collect and hold” the percentage fee

and return it to a debtor if the case is dismissed prior to confirmation. See,

e.g. In re Lundy, No. 15-32271, 2017 WL 4404271 (Bankr. N.D. Ohio Sept. 29,

2017); In re Dickens, 513 B.R. 906 (Bankr. E.D. Ark. 2014); In re Acevedo, 497

B.R. 112 (Bankr. D.N.M. 2013); In re Rivera, 268 B.R. 292 (Bankr. D.N.M.


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2001), aff’d sub nom., Skehen v. Miranda (In re Miranda), 285 B.R. 344 (table),

2001 WL 1538003 (10th Cir. BAP Dec. 4, 2001).

      However, we agree with the minority position that the language of

§ 586(e) unambiguously requires a standing trustee to obtain payment of

the percentage fee upon receipt of each plan payment. See Nardello v. Balboa

(In re Nardello), 514 B.R. 105 (D.N.J. 2014); In re Soussis, 624 B.R. 559 (Bankr.

E.D.N.Y. 2020). The plain language interpretation is confirmed by the

context of § 586(e)(2), related fee collection statutes, and the larger statutory

scheme of the Bankruptcy Code. And logic dictates that once the trustee

collects her fee “from” each payment she receives, the fee is no longer part

of the plan payments which must be retained by the trustee under

§ 1326(a)(2) and disbursed to creditors pursuant to the plan.

A.    The History Of The U.S. Trustee Pilot Program And § 586

      Congress enacted § 586 as part of the U.S. Trustee Pilot Program in

1978. See H.R. Rep. No. 95-595, at 1 (1977). The program allowed the United

States Trustee (“UST”) in certain districts to appoint private standing

trustees to oversee and administer chapter 13 cases. See id. at 4. The

purpose of the program was to “render the separation of administrative

and judicial functions complete” resulting in a “fairer, more equitable and

more effective system.” Id. at 115. Because of the success of the program,

Congress expanded it nationwide in 1986. H.R. Rep. No. 99-764, at 19

(1986).


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       Section 1302 provides that if the UST has appointed an individual to

serve as standing trustee in chapter 13 cases, that individual shall serve as

trustee when a chapter 13 case is filed. But if the UST has not appointed a

standing trustee, it must appoint one disinterested person to serve as

trustee in the case. Regardless of whether a trustee is a standing trustee, or

is appointed under § 1302, she must perform the duties required by the

Bankruptcy Code, under the supervision of the UST. See § 1302(b);

§ 586(a)(3). The major distinction between a trustee appointed under § 1302

and a standing trustee is the method of compensation.

       A trustee appointed under § 1302 may be awarded by the bankruptcy

court reasonable compensation for actual, necessary services and

reimbursement for actual, necessary expenses. § 330. Such compensation is

an allowed administrative expense under § 503(b)(2) and entitled to

priority distribution under § 507(a)(2). Thus, a trustee appointed under

§ 1302 must be paid from distributions under a confirmed plan, and if a

plan is not confirmed, she may deduct her compensation prior to returning

plan payments to the debtor. § 1326(a)(2).

       In contrast, standing trustees are not compensated under the

Bankruptcy Code and their compensation is not subject to adjustment by

the bankruptcy court. 4 See § 586(e); § 326(b). Under § 586(e)(1), the Attorney


       4
         The dissent cites legislative history from 1977 which stated that a standing
trustee’s compensation is fixed by § 586, but payable under proposed § 1326(a).
However, as part of expanding the U.S. Trustee Pilot Program nationwide in 1986,
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General, after consultation with the UST, fixes the maximum annual

compensation for standing trustees and sets a percentage fee not to exceed

a statutory limit. Section 586(e)(2) directs the standing trustee to “collect

such percentage fee from all payments received by such individual under

plans . . . for which such individual serves as standing trustee.”

B.    The Bankruptcy Court’s Decision And Evans

      In the present case, the bankruptcy court denied payment of

Trustee’s statutory fee based on the reasoning of In re Evans, 615 B.R. 290.

In Evans, the Idaho bankruptcy court determined that § 586(e) conflicts

with § 1326(a)(2) because § 586(e) directs a standing trustee to collect her

fee from all payments received, but § 1326(a)(2) directs a trustee, in a case

dismissed prior to confirmation, to return to the debtor any payments not

yet due and owing to creditors. Id. at 293.




Congress amended §§ 1302 and 1326. The legislative history of those amendments
demonstrates congressional intent to separate a standing trustee’s compensation from
the Bankruptcy Code:

      Section 222 conforms 11 U.S.C. 1302(a) to the fact that it is the U.S. Trustee who
      will have appointed the standing trustee, and not the court. 11 U.S.C. 1302(d) and
      (e) are stricken for this reason. Appointment and compensation of a standing
      trustee will be governed by [28] U.S.C. 586.
...
      Section 223 conforms 11 U.S.C. 1326(b) to the fact that [28] U.S.C. 586 will govern
      the appointment and compensation of a standing trustee, and not 11 U.S.C. 1302.

H.R. Rep. No. 99-764, at 29, reprinted in 1986 U.S.C.C.A.N. 5227, 5247. (emphasis added).
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      The court found § 586(e) to be ambiguous because it is “not clear

from the statutory language whether Congress intended to allow a trustee

to collect her fee on all payments received pre- or post-confirmation, or

intended to limit a trustee’s fee to a percentage of post-confirmation

disbursements.” Id. at 293-94. The court stated that nothing in § 586

contemplates that the percentage fee is irrevocable once the trustee collects

it, and noted that unlike a similar provision in chapter 12, § 1326(a)(2) does

not expressly permit a standing trustee to deduct her fee prior to returning

plan payments to a debtor. Id. at 296-97.

      Therefore, the bankruptcy court held that § 586(e)(2) “directs the

trustee to collect and hold the payments pending plan confirmation and the

source from which to collect the percentage fee, while § 1326(a)(2) tells the

trustee when and how to disburse payments before or after confirmation.”

Id. at 303.

C.    Section 586(e)(2) Entitles A Standing Trustee To Her Statutory Fee
      Upon Receipt of Each Plan Payment.

      Section 586(e)(2) provides that a standing trustee “shall collect such

percentage fee from all payments received by such individual under

plans . . . for which such individual serves as standing trustee.” We must

interpret whether this language, when construed with § 1326,5 provides for


      5
         Section 1326 states:
(a)(1) Unless the court orders otherwise, the debtor shall commence making payments
not later than 30 days after the date of the filing of the plan or the order for relief,
whichever is earlier, in the amount—
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a standing trustee to keep the fee she collects or requires her to hold it until

confirmation and return it to a debtor if the plan is not confirmed.

       1.     Rules of Statutory Construction

       The “‘fundamental canon of statutory construction’ [is] that words

generally should be ‘interpreted as taking their ordinary . . . meaning . . . at

the time Congress enacted the statute.’” New Prime Inc. v. Oliveira, 139 S.Ct.

532, 539 (2019) (quoting Wis. Cent. Ltd. v. United States, 138 S.Ct. 2067, 2074

(2018)). Thus, our interpretation starts “where all such inquiries must

begin: with the language of the statute itself.” Unites States v. Ron Pair

Enters., Inc., 489 U.S. 235, 241 (1989).

       “When the statute’s language is plain, the sole function of the

courts—at least where the disposition required by the texts is not absurd—

is to enforce it according to its terms.” Lamie v. United States Tr., 540 U.S.


       (A) proposed by the plan to the trustee;
....
        (2) A payment made under paragraph (1)(A) shall be retained by the trustee until
confirmation or denial of confirmation. If a plan is confirmed, the trustee shall distribute
any such payment in accordance with the plan as soon as is practicable. If a plan is not
confirmed, the trustee shall return any such payments not previously paid and not yet
due and owing to creditors pursuant to paragraph (3) to the debtor, after deducting any
unpaid claim allowed under section 503(b).
....
(b) Before or at the time of each payment to creditors under the plan, there shall be
paid—
        (1) any unpaid claim of the kind specified in section 507(a)(2) of this title;
        (2) if a standing trustee appointed under section 586(b) of title 28 is serving in the
case, the percentage fee fixed for such standing trustee under section 586(e)(1)(B) of title
28[.]

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526, 534 (2004) (quoting Hartford Underwriters Ins. Co. v. Union Planters

Bank., N.A., 530 U.S. 1, 6 (2000)). We “must presume that [Congress] says in

a statute what it means and means in a statute what it says there.” Conn.

Nat’l Bank. v. Germain, 503 U.S. 249, 253-54 (1992).

      If the statute is unambiguous, “judicial inquiry is complete.” Id. at

254 (quoting Rubin v. United States, 449 U.S. 424, 430 (1981)). “Our inquiry

must cease if the statutory language is unambiguous and ‘the statutory

scheme is coherent and consistent.’” Robinson v. Shell Oil Co., 519 U.S. 337,

340 (1997) (quoting Ron Pair Enters., Inc., 489 U.S. at 240).

      If the language is ambiguous, we “may look to other sources to

determine congressional intent, such as the canons of construction or the

statute’s legislative history.” United States v. Nader, 542 F.3d 713, 717 (9th

Cir. 2008) (citing Jonah R. v. Carmona, 446 F.3d 1000, 1005 (9th Cir. 2006)).

We determine whether a statute is ambiguous by “reference to the

language itself, the specific context in which that language is used, and the

broader context of the statute as a whole.” Robinson, 519 U.S. at 341.

      Unless otherwise defined, we interpret words according to their

“ordinary, contemporary, common meaning.” Wilderness Soc’y v. U.S. Fish

& Wildlife Serv., 353 F.3d 1051, 1060 (9th Cir. 2003) (en banc), amended on

reh’g en banc, 360 F.3d 1374 (9th Cir. 2004) (quoting United States v. Smith,

155 F.3d 1051, 1057 (9th Cir. 1998)). “A provision that may seem ambiguous

in isolation is often clarified by the remainder of the statutory scheme—

because the same terminology is used elsewhere in a context that makes its
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meaning clear, or because only one of the permissible meanings produces a

substantive effect that is compatible with the rest of the law.” United Sav.

Ass’n of Tex. v. Timbers of Inwood Forest Assocs., Ltd., 484 U.S. 365, 371 (1988).

      2.      The Text of § 586(e)(2) is Unambiguous

      The term “collect such percentage fee” is not defined in the statute.

Therefore, we first consider the common sense meaning of the term to

determine whether it is ambiguous. Ariz. Health Care Cost Containment Sys.

v. McClellan, 508 F.3d 1243, 1249 (9th Cir. 2007); Wilderness Soc’y, 353 F.3d at

1061 (using dictionaries to determine the common sense meaning of words

not defined in a statute).

      Black’s Law Dictionary (5th ed. 1979) defines collect as “[t]o receive

payment. To collect a debt or claim is to obtain payment or liquidation of

it . . . .” If § 586(e)(2) merely required Trustee to “collect” certain funds, as

the dissent suggests, the term might reasonably be construed to mean

gather or accept those funds. But the statute specifically mandates that a

trustee “collect such percentage fee” from all plan payments.

      Fee is defined as “a charge fixed by law for services of public officers

or for use of a privilege under control of government.” Black’s Law

Dictionary (5th ed. 1979).6 The plain meaning of “shall collect such

percentage fee” is not that a standing trustee gathers the fee and holds it


      6
         Merriam Webster’s Collegiate Dictionary, (10th ed. 1998) similarly defines
collect as “to claim as due and receive payment for” and fee as “a fixed charge” or “a
sum paid or charged for a service.”
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pending some future event. The plain meaning is that she obtains payment

of the statutory charge, and a debtor pays it to the trustee, when she

collects the fee from each payment under the plan.

      Unlike a trustee appointed under § 1302, a standing trustee’s fee is

not subject to bankruptcy court approval or adjustment. There is no

additional step in § 586(e) for a standing trustee to obtain compensation

beyond collection of the fee, and nothing in the Bankruptcy Code provides

for payment of a standing trustee’s fee.

      The language “shall collect such percentage fee” is plain and not

absurd. Thus, we are required “to enforce it according to its terms.” Lamie,

540 U.S. at 534.

      3.    The Context of § 586, Related Statutes, and the Statutory
            Scheme Confirm The Statute’s Plain Meaning

      Although “shall collect such percentage fee” is unambiguous, the

context of the statute, related statutes, and the Bankruptcy Code as a

whole, confirm the plain meaning of the text.

            a.     The Context of § 586

      Section 586(e) does not limit the standing trustee’s obligation to

collect fees to those cases in which a plan is confirmed. A standing trustee

must obtain payment of the fee “from all payments received . . . under

plans.” Because § 1326(a)(1) requires chapter 13 debtors to begin plan

payments within 30 days of filing the petition, a trustee will necessarily

receive preconfirmation plan payments from which she must collect the
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percentage fee. The statute does not specify when the trustee must collect

the fee, but this does not make the statute ambiguous. The trustee’s

obligation to collect the fee is cognizable upon receipt of each payment,

regardless of whether the plan has been confirmed.

      The trustee’s ability to keep the fees she collects is limited by § 586(e)

in only one way. The statute requires a standing trustee to pay collected

fees which exceed certain compensation limits to the UST. § 586(e)(2).

Those amounts must be deposited in the United States Trustee System

Fund and cannot be refunded. 28 U.S.C. § 589a(b)(8); see Knote v. United

States, 95 U.S. 149, 154 (1877) (“Moneys once in the treasury can only be

withdrawn by an appropriation by law.”). There is nothing in § 586 that

provides for the fees to be returned to a debtor or paid to anyone else once

collected by the trustee.

      The formula used to determine the amount of excess fees supports

our interpretation that a standing trustee obtains payment of the

percentage fee upon receipt of each plan payment. The limitations in

§ 586(e)(2)(A) and (B) are based on fees collected from all plan payments.

Section 586(e)(2)(A) requires a standing trustee to pay the UST “any

amount by which the actual compensation of such individual exceeds 5 per

centum upon all payments received under plans . . . .” Section 586(e)(2)(B)

requires a trustee to pay the UST any amount by which the collected fees

for all such cases exceeds (1) the maximum annual compensation set by the

Attorney General; and (2) the trustee’s actual, necessary expenses.
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      Since a standing trustee’s maximum annual compensation and

expenses are based on all fees collected, her compensation is effectively

capped at less than the amount fixed by the Attorney General if she is

required to return some fees to debtors. The formula thus presumes that a

standing trustee keeps the fees she collects. Section 586(e)(2) cannot be

construed to require a trustee to “collect and hold” the percentage fee

because the same statute mandates payment of excess fees to the UST and a

trustee cannot pay excess fees to the UST unless she has first obtained

ownership of those fees.

      Additionally, the language of § 586(e)(2) dictates that a standing

trustee must collect the percentage fee “from” all payments received under

plans, including those made prior to confirmation. This means the fee is

separated from other amounts proposed by a plan to be paid to creditors.

There is no provision in § 586 or the Bankruptcy Code that causes the

percentage fee to be recombined with the plan payments allocated for

creditors after it has been collected. In re Soussis, 624 B.R. at 572.

      An interpretation that the fee remains part of the plan payments

retained under § 1326(a) necessarily contravenes the directive that a trustee

shall collect the fee “from” plan payments. And an interpretation that the

fee is not “collected” until confirmation contravenes the directive to collect

the fee from “all payments” under plans.




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            b.     Related Statutes

      Our construction is also confirmed by the broader context of other

bankruptcy fee statutes. Section 589a of title 28 provides that certain

bankruptcy filing fees “collected” under 28 U.S.C. § 1930 shall also be

deposited into the United States Trustee System Fund. Pursuant to 28

U.S.C. § 1930(e), the clerk of the court may “collect only the fees

prescribed.” We do “not lightly assume that Congress silently attaches

different meanings to the same term in the same or related statutes.” Azar

v. Allina Health Servs., 139 S. Ct. 1804, 1812 (2019).

      Just as in § 586(e), once the filing fees are collected by the clerk, they

are not refundable. See In re Mullins, 10 B.R. 346, 347 (9th Cir. BAP 1980); In

re Fortman, 456 B.R. 370, 374 (Bankr. N.D. Ind. 2011). In other words, a

debtor’s ownership ceases when the “fees” are “collected.”

            c.     The Statutory Scheme

      Finally, the structure of the statutory scheme supports the plain

language meaning of § 586(e). Regardless of whether the trustee is a

standing trustee or one appointed under § 1302, she is supervised by the

UST and tasked with the primary duty to serve the interests of creditors.

§ 586(c); Andrews v. Loheit (In re Andrews), 49 F.3d 1404, 1407 (9th Cir. 1995).

      Whether the trustee is a standing trustee or not, she plays a

significant role in the administration of the estate prior to confirmation.

The trustee must account for property received, investigate the debtor’s

financial affairs, examine and object to allowance of proofs of claim when
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necessary, ensure that the debtor commences plan payments, appear at

hearings, advise and assist debtors other than on legal matters, and

perform additional duties if a debtor is engaged in business. § 1302(b), (c).

      The trustee also has authority to object to confirmation of a plan and

to seek dismissal of a case. § 1307; § 1325; see In re Sisk, 962 F.3d 1133, 1146

(9th Cir. 2020) (stating that confirmation requirements of § 1325(b) are

triggered only upon an objection by an unsecured creditor or the trustee).

And because “unsecured creditors often lack the resources and incentive to

do so, trustees are frequently de facto gatekeepers to the bankruptcy

court’s adjudication of means test issues.” Rodriguez v. Bronitsky (In re

Rodriguez), 620 B.R. 94, 103 (9th Cir. BAP 2020).

      A standing trustee’s compensation is fixed by the Attorney General

pursuant to § 586, while a chapter 13 trustee appointed under § 1302 is

awarded reasonable compensation and reimbursement of expenses by the

bankruptcy court under § 330. Under the interpretation advanced by the

dissent, when a case is dismissed prior to confirmation, a trustee appointed

under § 1302 has an administrative claim under § 503(b), and will be paid

prior to returning funds to the debtor, but a standing trustee will not be

compensated for her work.

      Given the importance of a chapter 13 trustee’s preconfirmation duties

to creditors and the bankruptcy system as a whole, and the identical

obligations of a standing trustee and one appointed under § 1302, it makes

little sense for Congress to provide for compensation of one and deny it the
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other. Such a construction would result in misaligned incentives. For

example, a standing trustee might be less likely to vigorously pursue

objections to confirmation or dismissal when doing so would jeopardize

her compensation.

      The context of § 586, other bankruptcy fee statutes, and the statutory

scheme of the Bankruptcy Code confirm that the plain meaning of “shall

collect such percentage fee” means that a standing trustee obtains the fee

upon receipt of each plan payment.

D.    Section 586 Is Not Made Ambiguous By § 1326

      Statutory language is ambiguous only if it “gives rise to more than

one reasonable interpretation.” Woods v. Carey, 722 F.3d 1177, 1181 (9th Cir.

2013) (quoting DeGeorge v. U.S. Dist. Ct., 219 F.3d 930, 939 (9th Cir. 2000));

see also United Sav. Ass’n of Tex., 484 U.S. at 365 (“[A] provision that may

seem ambiguous in isolation is often clarified by the remainder of the

statutory scheme . . . because only one of the permissible meanings

produces a substantive effect that is compatible with the rest of the law.”).

      The dissent suggests that § 586 is silent about when the trustee’s fee is

vested or whether it is refundable, and like the Evans court, it finds

ambiguity in the interplay between § 586 and § 1326. The purported

ambiguity arises from the direction in § 1326(a)(2) that a trustee shall retain

plan payments until confirmation or denial of confirmation. If the trustee’s



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fee is part of each plan payment, the argument goes, then the fee must be

included in the payments to be retained under § 1326(a)(2).

      But notably absent from the dissent is the identification of any

mechanism by which the standing trustee takes ownership of the fee, other

than by collecting such percentage fee under § 586(e). And, if the standing

trustee takes ownership of the fee upon collecting it, the dissent offers no

mechanism for disgorgement of the fee under the Bankruptcy Code.

      Section 1326(a)(2) directs a trustee to retain plan payments until

confirmation, then distribute those funds in accordance with the plan. But a

standing trustee’s percentage fee is not a disbursement made in accordance

with the plan. The trustee is neither a creditor nor an administrative

claimant and payment of her fee is not required as part of a plan under

§ 1322 or provided for in the priority scheme of § 507. See Wagner v.

Armstrong (In re Wagner), 36 F.3d 723, 726 (8th Cir. 1994) (“Trustee’s fees are

not ‘debts provided for by the plan,’ but are fees levied for services

provided in administering the plan.”); In re Turner, 168 B.R. 882, 887-88

(Bankr. W.D. Tex. 1994) (describing the trustee’s fee as a “user fee,”

independent of the priority scheme, and payable prior to—and

independent of—payments to creditors). This is consistent with Congress’s

intent to separate compensation of a standing trustee from the

compensation and disbursement schemes under the Bankruptcy Code.

      Section 1326(b) states that the percentage fee must be paid at or

before payments to creditors under the plan, but it does not state that the
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fee is paid under the plan. In fact, it expressly distinguishes the percentage

fee from payments made to creditors and administrative claimants under a

plan. The dissent argues that § 1326(b) has no bearing on this question if

the case is dismissed prior to confirmation. But if the fee remains part of

the payments to be retained until confirmation, as the dissent argues, then

it must somehow be payable if the plan is confirmed.

      Payment of the standing trustee’s percentage fee is not governed by

any provision in the Bankruptcy Code. It is governed exclusively by § 586.

See § 326(b) (stating that compensation of a standing trustee is not subject

to bankruptcy court approval or limitation); see also Official Form 113,

Chapter 13 Plan (“Trustee’s fees are governed by statute”); Debtors’ Amended

Plan, Case No. 1:19-bk-01424-NGH Dkt. 28 (“Trustee’s fees are governed

and paid as provided by 28 U.S.C. § 586.”).

      Because the percentage fee is not paid under a plan or by a provision

of the Bankruptcy Code, the courts interpreting the statute as requiring the

trustee to “collect and hold” the fee must implicitly look to § 586(e) for

payment of the fee upon confirmation. But, § 586(e) contains only one

mandate: that a standing trustee “shall collect such percentage fee from all

payments received.” It is unreasonable to interpret this language to mean

“collect and hold” prior to confirmation, then rely on the same language to

mean “obtain payment” upon confirmation.

      The funds returnable to a debtor upon dismissal are those amounts

allocated to pay creditors and administrative claims under the plan, after
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the standing trustee has collected her percentage fee. Any construction that

requires the trustee to return the percentage fee to a debtor upon dismissal

contravenes the unambiguous mandate in § 586(e)(2) that a standing

trustee “shall collect such percentage fee” from all payments under the

plan. Furthermore, the percentage fee cannot be included in the payments

retained by the trustee under § 1326(a)(2) because there is no mechanism

under the Bankruptcy Code to disburse the fee upon confirmation.

      Section 586(e)(2) is not made ambiguous when construed with § 1326.

Interpreting it to require a standing trustee to “collect and hold” the

percentage fee creates ambiguity and is therefore not a reasonable

construction.

E.    We Do Not Apply The Negative Inference Canon Or The Canon
      Against Surplusage To Overcome The Plain Language Of A
      Statute.

      We acknowledge that Congress expressly provided that upon

dismissal prior to confirmation, a standing trustee serving in a chapter 12

case or under subchapter V of chapter 11 shall return plan payments to a

debtor after deducting the percentage fee. § 1194(a)(3); § 1226(a)(2). 7 But


      7
        Section 1194(a)(3) provides:
      “If a plan is not confirmed, the trustee shall return any such payments to the
debtor after deducting—
      ...
      (3) any fee owing to the trustee.”

      Section 1226(a)(2) provides:
      “If a plan is not confirmed, the trustee shall return any such payments to the
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those provisions do not create a negative inference that a standing trustee

must return the fee to a debtor in a chapter 13 case.

       “[W]here Congress includes particular language in one section of a

statute but omits it in another section of the same Act, it is generally

presumed that Congress acts intentionally and purposely in the disparate

inclusion or exclusion.” Russello v. United States, 464 U.S. 16, 23 (1983).

However, this rule of construction is limited. Field v. Mans, 516 U.S. 59, 75

(1995); see also Johnson v. United States, 559 U.S. 133, 143 (2010) (rejecting a

negative inference construction where a subsequent related statute was

enacted eight years after the original statute and was thus not part of “the

same Act”).

       Negative inferences from disparate provisions are “strongest when

the portions of a statute treated differently had already been joined

together and were being considered simultaneously when the language

raising the implication was inserted.” Lindh v. Murphy, 521 U.S. 320, 330

(1997); see also Field, 516 U.S. at 75 (“The more apparently deliberate the

contrast, the stronger the inference, as applied, for example, to contrasting

statutory sections originally enacted simultaneously in relevant respects.”).


debtor, after deducting—
      ...
      (2) if a standing trustee is serving in the case, the percentage fee fixed for such
standing trustee.”




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“The rule is weakest when it suggests results strangely at odds with other

textual pointers . . . .” Field, 516 U.S. at 75.

      Congress enacted §§1194(a) and 1226(a) several years after enacting

§ 1326(a) and there is no evidence that it was considering a standing

chapter 13 trustee when it included the language in the subsequent

statutes. Moreover, it does not logically follow that the inclusion of this

language means that a chapter 13 trustee cannot retain her fee upon

dismissal.

      Regardless of which chapter the standing trustee is serving under,

her compensation is governed by § 586(e)(2). And just as in chapter 13,

there is no provision in either chapter 12 or subchapter v of chapter 11

which authorizes the trustee to obtain payment of the fee if § 586(e)(2)

means “collect and hold.” The language in § 1194 and § 1226 is best

understood as reiterating the fact that once plan payments are made to a

standing trustee, she shall “collect such percentage fee” from those funds.

      Although our interpretation of § 586(e)(2) may cause the language in

§ 1194(a) and § 1226(a) to be superfluous, “[s]urplusage does not always

produce ambiguity and our preference for avoiding surplusage

constructions is not absolute.” Lamie, 540 U.S. at 536 (citing Chickasaw

Nation v. United States, 534 U.S. 84, 94 (2001)); see also Rimini St., Inc. v.

Oracle USA, Inc., 139 S.Ct. 873, 881 (2019) (“Redundancy is not a silver

bullet . . . . Sometimes the better overall reading of the statute contains

some redundancy.”). And Congress may have had reason to reiterate the
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fact that the percentage fee is collected from all payments in cases under

chapters where preconfirmation payments are permissible but not

required.

      The canon against surplusage “assists only where a competing

interpretation gives effect ‘to every clause and word of a statute.’” Marx v.

Gen. Revenue Corp., 568 U.S. 371, 385 (2013) (quoting Microsoft Corp. v. i4i

Ltd. P’ship, 564 U.S. 91, 106 (2011)). And more importantly, we do not apply

the canon against surplusage to contravene the plain language of a statute.

Lamie, 540 U.S. at 536 (“applying the rule against surplusage is, absent

other indications, inappropriate” where doing so would render otherwise

plain language ambiguous).

      Interpreting the statute as requiring the trustee to return the

percentage fee upon dismissal directly contravenes the plain language of

§ 586(e)(2), which requires a standing trustee to collect the fee from all plan

payments. Additionally, such an interpretation would create its own

surplusage. If the fee remains part of the payments to be retained under

§ 1326(a), and is payable only upon confirmation, there is no reason for the

trustee to collect the fee from each plan payment and “shall collect such

percentage fee” becomes surplusage.

      While we prefer a construction that gives effect to every word in a

statutory scheme, we are aware that “redundancies are common in

statutory drafting—sometimes in a congressional effort to be doubly sure,

sometimes because of congressional inadvertence or lack of foresight, or
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sometimes simply because of the shortcomings of human communication.”

Barton v. Barr, 140 S. Ct. 1442, 1453 (2020); see also Conn. Nat’l Bank, 503 U.S.

at 253 (“Redundancies across statutes are not unusual events in drafting,

and so long as there is no positive repugnancy between two laws, a court

must give effect to both.”) (cleaned up). And “[r]edundancy in one portion

of a statute is not a license to rewrite or eviscerate another portion of the

statute contrary to its text.” Barton, 140 S. Ct. at 1453.

      Despite the redundancy in § 1194 and § 1226(a)(2), we must “turn

first to one, cardinal canon before all others[:] . . . a legislature says in a

statute what it means and means in a statute what it says there.” Conn.

Nat’l Bank, 503 U.S. at 253-54. “If judges could add to, remodel, update, or

detract from old statutory terms inspired only by extratextual sources and

our own imaginations, we would risk amending statutes outside the

legislative process reserved for the people’s representatives.” Bostock v.

Clayton Cnty., Ga., 140 S. Ct. 1731, 1738, (2020).

      The plain language meaning of § 586(e)(2) is the standing trustee

obtains ownership of her percentage fee, and a debtor pays it, when each

payment under the plan is received by the trustee.

                                 CONCLUSION

      For the reasons stated above, we VACATE the bankruptcy court’s

order denying Trustee’s fee and REMAND with instructions to enter the

order consistent with this decision.

                          Concurrence begins on next page.
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      SPRAKER, Bankruptcy Judge, concurring:

      Both the majority and dissent examine hoary principles of statutory

construction, but to limited avail. Like the extra screw or bolt left over after

assembling a piece of furniture or child’s toy, our efforts to harmonize the

applicable statutes are not wholly satisfying because however we construe

them we are left with something that may work but does not fit well

together. Ultimately, the question presented distills to this: should we

insert additional language into an otherwise unambiguous statute or

enforce that statute as written and render explicit statutory provisions in a

separate, related statute surplus?

      I write separately to emphasize the significance of the fees the

standing trustee is statutorily obligated to collect under 28 U.S.C. § 586(e).

Congress enacted a detailed statutory scheme governing compensation of

bankruptcy professionals within the Bankruptcy Code. See §§ 326-330. Yet,

Congress removed the compensation of standing trustees from the

Bankruptcy Code and bankruptcy court oversight. Instead, it imposed a fee

to be collected from each plan payment to fund their compensation. This

fee is the cost to the debtor, payable to the trustee, for being in chapter 13.

In re Soussis, 624 B.R. at 564 (“In essence, those who file for bankruptcy

must pay a user fee to access the privileges and protections the Bankruptcy

Code affords.”). Like other user fees, payment does not depend upon the

success of the endeavor that generates the fee. See generally Green v. Bank of

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America, 2012 WL 5032414 (E.D. Cal. Oct. 17, 2012) (collecting cases

discussing refund of filing fees after voluntary dismissal). The fee is

severed from each plan payment upon the trustee’s receipt. In re Soussis,

624 B.R. at 572.

      For this reason, trustee compensation is not subject to, or controlled

by, a chapter 13 plan. Section 1326, therefore, does not govern the collection

of the standing trustee’s fee except to confirm that the fee must be paid

before or at the time of each payment to creditors. § 1326(b)(3). Far from

tying the trustee’s fee to plan confirmation, this requirement acknowledges

the trustee’s rights in the plan payments as they are received and disbursed

to a debtor’s creditors under a confirmed plan. The trustee, however, is not

recognized as a creditor under the plan. In re Turner, 168 B.R. at 886.

Accordingly, under § 586(e) the trustee is entitled to her fee as she receives

the debtor’s plan payments whether that plan is confirmed or not.

      I disagree with the conclusion reached in Evans and the cases it relies

upon as it contravenes the plain and ordinary meaning of § 586(e). I join the

majority, not out of some personal sense of equity, but because I find its

reasoning more natural and less damaging statutorily to give effect to the

plain and ordinary meaning of § 586(e). This construction renders the

statutory provisions in other bankruptcy chapters surplusage. I appreciate

the significance of this construction, but it is the only one that harmonizes

the statutes consistently with each other. The alternative is to read § 586(e)

to require the trustee to collect and hold her fee. Such a construction does
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not harmonize the statutes, but rather amends one. To add such a

requirement does too much at the expense of § 586(e): one does not collect a

fee only to return it – that is a deposit not a fee.

      Still, I agree with the bankruptcy court’s assessment in In re Acevedo

that efforts to harmonize § 586(e) and the applicable provisions of the

Bankruptcy Code yield results that are “not totally satisfying.” 497 B.R. at

124. In Acevedo, the court agreed with the dissent that § 586(e) required the

trustee to collect and hold the statutory fee but candidly acknowledged

that this result was “based on a somewhat unnatural reading of the first

sentence of § 586(e)(2).” Id. The Acevedo court nonetheless found that

construction to be the more natural reading of § 1326(a). Id. at 125. We

reach the opposite conclusion here. Yet, our reading of § 1326, as well as

§§ 1194 and 1226, leaves me with a similar feeling as that expressed in

Acevedo, only from the competing perspective.

      Unfortunately, under either construction of the statutes at issue there

always will be some piece that does not fit. I agree with the construction

adopted by the majority as it harmonizes both statutes rather than

amending one to produce a result contrary to its plain meaning.



                             Dissent begins on next page.




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LAFFERTY, Bankruptcy Judge, dissenting:

      I dissent. I would affirm the bankruptcy court’s ruling that a chapter

13 trustee is not entitled to retain her statutory fee in those instances in

which a case is dismissed prior to confirmation. And of equal importance, I

would agree with that court, and with the numerous other courts

(including one appellate panel) that have wrestled with this issue that, in

the absence of express direction from Congress, in a multifaceted inquiry,

judges ought to use all of the tools at their disposal, including the many

and varied rules of statutory construction, as well as negative inferences

from Congress’ later decisions—twice—to address the issue presented here

in other chapters of the Bankruptcy Code, to resolve this issue. And, in my

view, a fair deployment of these tools leads, not as directly as one might

like, but nonetheless reliably to the conclusion that the bankruptcy court

reached in this instance.

      But before I engage with the majority, an opening note.

      My decision not to join in the majority’s disposition does not reflect a

fundamental disagreement about what I believe would be the “better”

answer to this question from a purely policy standpoint. To the contrary, I

agree with the majority in this case, and, I would wager, with the vast

majority of judges who have struggled with the issue whether chapter 13

trustees should be able to retain amounts that would comprise their fees

when a chapter 13 case is dismissed prior to confirmation—they should.

That the plan payments must, with certain expressly enumerated
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exceptions, be refunded to the debtor without payment of the trustee’s fee,

seems neither “fair and equitable” to me, to borrow a phrase—chapter 13

cases are not dismissed because of any “fault” by the trustee, who

frequently will have worked extensively on the case prior to dismissal, and

will not receive any recompense therefor—nor, from a practical standpoint,

likely to create or support any incentives that are consistent with the

purposes of the Bankruptcy Code or the Judicial Code. But I conclude that

no matter how equitable it might be to have chapter 13 trustees be paid

their fee from amounts paid in by the debtor but not distributed to

creditors, the statutes directly relevant to this question do not so provide,

and the content and context of related statutes support the opposite

outcome.

      And while I disagree with the majority’s conclusion on the issue

presented, I disagree more fundamentally, and vigorously, with the

majority’s approach in addressing the issue to be decided.

      To that point, I readily acknowledge that while the significant

majority of courts that have decided this issue have reached the same

conclusion I do, they have done so mindful of, and struggling openly to

make sense of, statutes that, in their view, do not directly address the

question, and that use terminology that is not defined with precision, and

is not, in their view, susceptible to only one interpretation.

      Unfortunately, the majority has chosen a different approach to

addressing this problem. All but disregarding not only the contrary
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conclusions of the judges who have consistently reached a different result

on this question, but also the comprehensive and careful thought processes

that those judges have demonstrated in addressing this problem, the

majority in this case has concluded that the answer to this question is

obvious, and is found in what it sees as “unambiguous” language in one

provision of what it believes to be the only relevant statute.

      This asserted simplicity and the alleged pre-emptive nature of the

Judicial Code on this question notwithstanding, the majority also employs

contextual arguments that, while certainly interesting, are neither clearly

determinative of the matter—there are in each instance perfectly rational

counterarguments or contexts—nor, one would think, necessary. Nor is it

clear why, particularly in light of the analytical inconsistency between

resting on “unambiguous” language to resolve the interpretive question

presented, and then selectively presenting arguments about context, the

majority also apparently believes that it is permitted not merely to treat as

surplusage or redundancy, as it essentially concedes it is doing, but, more

candidly, essentially to ignore legislative history and clear statements of

congressional intent via subsequent statutory amendments that argue

strongly against the positions the majority seems bound to assert.

      The majority’s approach is, in my view, both conceptually flawed as

a matter of statutory interpretation, and unconvincing in application to this

problem.


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      A.   The statutory interpretation methods employed by the
      majority are flawed and ignore the fundamental purposes of such
      analysis.

      The majority opinion’s ruling concerning a trustee’s right to retain

fees in unconfirmed chapter 13 cases rests largely on two theses: (a) § 586

(and in particular § 586(e)) of the Judicial Code (title 28) is the sole source

of authority on the question whether a chapter 13 trustee should be able to

retain her fee when a case is dismissed prior to confirmation; and (b) the

most important evidence for the source of that authority is Congress’

choice of the word “collect” to describe how the trustee obtains her fee. The

majority purports to utilize a well-worn rule of statutory construction, that

we should look first to the “plain meaning” of the language that Congress

has chosen in a statute. And if we can deduce the “plain meaning” of the

language, we have answered the question for all purposes and need not

consider contextual arguments, or compare the language and function of

other statutes (here contained in separate titles of the United States Code)

to determine the correct interpretation of the statutory language, or

consider the effect of Congress’ decision directly to address the issue

presented here in the Bankruptcy Code. There are several problems with

the majority’s approach.

      But there are some matters on which I believe everyone would agree.

      First, the question presented: May chapter 13 trustees retain the

amounts they collect as their fee in those instances in which the case is
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dismissed prior to confirmation, and the creditors do not receive a

distribution?

      Second, does any statute directly and expressly resolve this question,

i.e., is there a statute that tells us, directly and expressly, that a trustee may

or may not retain such fees? Ignoring for these purposes the language in

the Bankruptcy Code that disposes of this question in the context of

chapter 12 cases and chapter 11 subchapter V cases (see section D, infra),

the answer is, clearly and unambiguously, “No.”

      We are thus left with an interpretive task for which we need to utilize

rules of statutory construction.

      The goal of statutory construction is to divine the intent of Congress

in enacting a statute. U.S. Aviation Underwriters, Inc. v. Nabtesco Corp., 697

F.3d 1092, 1096 (9th Cir. 2012). And before we employ any “tools” of

interpretation, we need to focus on the point of this exercise to determine

what Congress was trying to accomplish, and what problems Congress was

trying to address in enacting a statute or statutes, and to keep that goal

before us at all times.

      We may use various tools to accomplish this task. As an initial

matter, we utilize the “plain meaning rule” to determine the intent of

Congress, because, ordinarily, the simplest and most accurate and reliable

method of deriving the meaning of a statute is to examine the actual

language of the statute, using the normal meaning of the words Congress

chose. Mitchell v. United States, 977 F.2d 1318, 1320 (1992) (citing United
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States v. Ron Pair Enters., 489 U.S. 235, 241 (1989)). And the simpler we can

legitimately keep the interpretive process, the better. Simplicity avoids

distorting the process through the addition of extraneous matters,

including perhaps our own thoughts or biases.

        Where, as here, we are attempting to discern not only the meaning of

particular words, but also to glean how Congress was trying to address

both trustee compensation and the disposition of funds that come into a

bankruptcy process, we need to be exceptionally careful not artificially or

facilely to predetermine this issue by an insistence on the sufficiency of the

plain meaning rule as it applies to only one possible source of authority. See

United States v. Monia, 317 U.S. 424, 431 (1943) (Frankfurter, J., dissenting)

(“The notion that because the words of a statute are plain, its meaning is

also plain, is merely pernicious oversimplification.”). See also Watt v. Alaska,

451 U.S. 259, 266 (1981) (“[A]scertainment of the meaning apparent on the

face of a single statute need not end the inquiry. This is because the plain-

meaning rule is “rather an axiom of experience than a rule of law, and does

not preclude consideration of persuasive evidence if it exists.” (cleaned

up)).

        Accordingly, we must acknowledge that the rules of statutory

construction do not end with the plain meaning rule, but also include

requirements that we consider the relevant language in the context of the

section in which it appears, and, as in this case, compared to language in

other potentially relevant sections, including in other titles of the United
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States Code. FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 132-33

(2000). We undertake these further analyses to ensure that we consider as

broadly as we should the direct statements as well as the nuances in the

language Congress utilizes in enacting statutes, so that we both harmonize

any apparent conflicts within the section or among different sections, and

not render meaningless any part of the statute(s). Bayview Hunters Point

Cmty. Advocs. v. Metro. Transp. Comm’n, 366 F.3d 692, 700 (9th Cir. 2004).

      While we acknowledge the primacy and importance of the plain

meaning rule, we must also acknowledge its potential hazards: enforced

with the rigor on which the majority here insists, it has a pre-emptive

effect, and forecloses the consideration of other sources of authority on

what may be nuanced and multifaceted questions. For this reason, I submit

that the plain meaning rule ought to be invoked to end the interpretive

inquiry only in those cases in which we can fairly say that (a) Congress has

chosen language that is not merely plausibly susceptible of one meaning

that might yield a result we think correct, but that is not susceptible of a

different or more limited meaning that would yield a different result, and

(b) Congress has demonstrated an intent, through such language, fully and

finally to determine the question presented.




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      B.    One cannot rely on the “plain meaning” of the word “collect”
      as used in § 586(e) to infer that no portion of a standing trustee fee
      is refundable.


      In light of these concepts, the majority’s insistence on the primacy of

§ 586 and the term “collect” is, from a purely theoretical standpoint, highly

suspect. Indeed, for the majority’s position and method to be valid, we

must be willing to conclude not only that the word “collect” may have only

one meaning, and that that meaning may support only one inference, and

no other, but also that it is clear that Congress intended that this language

be the sole and exclusive determinant of the question of the disposition of

trustee’s fees in unconfirmed chapter 13 cases. That’s asking a lot from a

word as flexible, commonplace and non-technical as “collect,” and from a

statute as focused and specific as the Judicial Code; not surprisingly, the

term “collect,” and § 586 more generally, are simply not up to this

exclusionary interpretive task.

      Utilizing the “plain meaning” motif, the majority reviews the critical

phrase from § 586(e)(2) “shall collect such percentage fee” by referring to

Black’s Law Dictionary, and states that collect is defined as “to receive

payment. To collect a debt or claim is to obtain payment or liquidation of

it . . . .” From this definition and the definition of “fee” as “a charge fixed

by law for services of public officers or for use of a privilege under control

of government,” the majority concludes that the ordinary meaning of “shall

collect such percentage fee” is that a standing trustee obtains payment of
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the statutory charge, and a debtor pays it to the trustee, from each payment

under the plan.

      There are at least two reasons why this exercise is not as conclusive

as the majority would suggest. First, the language of the statute refers,

plainly, to collecting such percentage fee; it says nothing about collecting

payment for a debt or a claim, and to the extent that Black’s Law Dictionary

purports to add those concepts of “payment” and “satisfaction,” it strays

beyond the meaning of the phrase under review. Moreover, there is

nothing in the statute, nor in the definition, that ascribes to the word

“collect” an exclusive and irrefutable meaning that would include

payment, as in immediate satisfaction of a claim. It could as well mean, for

example, obtain the means of payment, as it apparently does with reference

to the plan payments generally, which are surely also “collected,” but not

in any sense disposed of, or even earmarked, prior to confirmation of a

plan. 8 Plain and unambiguous ought to mean, at a minimum, a common

sense meaning that is clear from the words chosen and the immediate

context of the provision, and that does not fairly admit of a contrary

meaning. Cf. Alaska Wilderness League v. U.S. EPA, 727 F.3d 934, 938 (9th



      8
        The majority’s suggestion that this analysis is flawed because it addresses the
meaning of the word “collect” as opposed to the phrase “collect such percentage fee,” is
mystifying: the difficulty here turns on what we mean by collect—does it mean
“gather” or “take in,” or does it mean, as it unquestionably does not here, “pay oneself
immediately”? The nature of the object of that activity, the percentage fee, adds nothing
to the analysis, one way or the other.
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Cir. 2013) (“A statute is ambiguous if it is susceptible to more than one

reasonable interpretation. The plainness or ambiguity of statutory language

is determined by reference to the language itself, the specific context in

which that language is used, and the broader context of the statute as a

whole.” (cleaned up)).

      Second, and more problematic, even were I to accept the meaning of

the language “collect such percentage fee” as proposed by the majority, it

simply would not answer the fundamental question posed by this matter—

may the trustee retain such amounts collected that pertain to her fee, or

must she refund them if a plan is not confirmed? Section 586(e)(2) specifies

the amount upon which the percentage fee is to be computed and

authorizes the standing trustee to “collect” it, but the statute “is silent with

regard to whether confirmation is a prerequisite to distribution, or what

effect pre-confirmation dismissal or conversion may have on the standing

trustee’s entitlement to her percentage fee.” In re Miranda, 2001 WL

1538003, at *2; see also In re Evans, 615 B.R. at 297 (“Just as § 586(e) does not

contemplate that once a fee is collected, any part of it should be refunded to

the debtor, it also does not contemplate that any portion of the fee is

irrevocable.”). Indeed, this remaining uncertainty has been noted by

virtually every case that has addressed this issue. See, e.g., In re Lundy, 2017

WL 4404271, at *7; In re Dickens, 513 B.R. at 911; In re Acevedo, 497 B.R. at

122-23.


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      Because “collect” reasonably seems to mean gather, or accept, but

cannot and does not have an exclusive meaning regarding disposition of

the fee “collected,” almost all of the cases that have examined this issue

have concluded that the answer to this question cannot be obtained merely

by reference to § 586(e)(2). As such, § 586(e) must be read in conjunction

with § 1326, which governs payments and disbursements associated with

chapter 13 plans. In re Miranda, 2001 WL 1538003, at *2. And, because

payments made under § 1326(a)(1)(A) necessarily include the trustee’s

percentage fee, interpreting § 586(e)(2)’s requirement to collect percentage

fees as mandatory and irrevocable “creates a conflict with § 1326 because it

requires the Trustee to collect and retain the percentage fee (or to pay any

surplus to the UST System Fund) in the face of § 1326(a)(2)’s directive to

return payments to the debtor if a plan is not confirmed.” In re Acevedo, 497

B.R. at 122.

      Examining the majority’s method here, it appears that resort to the

“plain meaning” and “unambiguous language” rubrics, flawed as they are

conceptually and practically in this instance, are merely a means to avoid

the interpretive difficulties that would result were one fairly to assess the

interplay between §§ 586(e)(2) and 1326.

      Moreover, when the task is to interpret language that might bear on

other aspects of a separate but related statutory scheme, given the further

rule of statutory construction that we should give effect to various parts of

the statute and harmonize apparently conflicting provisions of statutes, we
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should also inquire whether the language of the statute on which we are

relying is clearly the only authoritative source—i.e., is it clearly intended to

speak comprehensively and exclusively to the issue presented? If we

cannot readily discern that, then we have to consider other apparently

relevant statutes to assess their effect on the issue.9

      As the Supreme Court recently reminded us, what we absolutely

cannot do is rely on a plain meaning analysis to shortcut any further

inquiry, and then engage in a selective and uncritical survey of the

“context” that also ignores contrary inferences and inconvenient statutory

language. See Borden v. United States, 141 S. Ct. 1817, 1829 (2021) (“A court

does not get to delete inconvenient language and insert convenient

language to yield the court’s preferred meaning.”).

      And in examining this issue beyond the bounds and limits of the

plain meaning rule as urged by the majority, I find ample evidence that

Congress did not intend the Judicial Code to be the sole source of authority

on this question or that the provisions of § 586 definitively resolve this

question.

      As an initial matter, even the most superficial review of the relevant



      9
         Although the majority considers § 1326, it does so only to demonstrate that even
in the context of the language of that section, its interpretation of the language of
§ 586(e)(2) and its determinations concerning the conclusiveness of that language mean
that no further inquiry is really necessary. I will explore the “contextual inquiry”
undertaken by the majority in the next section of this dissent and will demonstrate why
that effort is neither objective nor reasonable in its conclusions.
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legislative history associated with § 586 would have revealed Congress’

direct acknowledgement that while § 586 governs the calculation of trustee

fees, the question of the disposition of those fees is within the scope of the

Bankruptcy Code: “IF A PRIVATE STANDING TRUSTEE SERVES, HIS

FEE IS FIXED BY THE ATTORNEY GENERAL UNDER PROPOSED 28

U.S.C. 586(E), AND IT WILL BE PAYABLE UNDER PROPOSED 11 U.S.C.

1326(a)(2).” H.R. Rep. 95-595, at 328 (1977), reprinted in 1978 U.S.C.C.A.N.

5963, 6284.10

      Lastly, the majority’s attempt to dispose of Congress’ clear direction

regarding a standing trustee’s right to retain fees in chapter 12 (§ 1226) and

sub-chapter V of chapter 11 (§ 1194) as not even constituting a

“surplusage” problem, in light of the unambiguous and immutable

meaning of “collect,” is equally flawed. As discussed in section D below,

and as many cases have noted, it is extremely difficult to review the

language of Bankruptcy Code §§ 1226 and 1194, each of which were

enacted after § 586(e)(2) (and after the original version of § 1326), and each

of which expressly provides for the trustee to retain amounts paid as her


      10
          The majority suggests that Congress’ intent for standing trustee fees to be
payable under the Bankruptcy Code changed, as evidenced by the legislative history of
the 1986 amendments to §§ 1302 and 1326, which states that appointment and
compensation of standing trustees are to be governed by § 586. But the 1986 history is
not at all inconsistent with the notion that trustee fees are payable under the
Bankruptcy Code. Section 586(e) simply governs the amount and source of standing
trustee fees. It does not resolve the question of when the standing trustee’s right to
retain the fee is vested or whether the fee is refundable.
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fee in the event the case is dismissed before confirmation, and not draw the

negative inference that Congress intended the opposite result under § 1326.

      Directly to this interpretive method issue, even if one does not accept

the negative inference suggested by the subsequently added provisions

(and one believes that the failure to update or amend the language of

§ 1326 was an oversight or inadvertent), it is impossible to dispute the more

fundamental point established by the mere fact of the inclusion of such

language in the later-enacted provisions: Congress acknowledged that the

issue of retention or refund of the trustee’s fees is absolutely a question

delegated to, and that must be resolved by, the Bankruptcy Code.

The majority’s method is thoroughly flawed and cannot support the

conclusion that the trustee must retain her fees in a chapter 13 case that is

dismissed before confirmation.

   C. The statutory scheme and related statutes do not support the
      majority’s conclusion that § 586 is the last word on whether
      standing trustee fees are refundable.

      Among other things, § 586(e) authorizes the Attorney General to fix

the fee for standing trustees, dictates the percentage and maximum amount

of fees, and prescribes the source of payment of those fees: “from all

payments received by such individual under plans in the cases under

subchapter V of chapter 11 or chapter 12 or 13 of title 11 for which such

individual serves as standing trustee.” Section 586(e) does not purport to

address when the standing trustee’s right to retain the fee is vested or
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whether the fee is refundable. Although the statute does not distinguish

between confirmed or unconfirmed plans, that does not necessarily imply

the result the majority urges. As the legislative history suggests, that

question is addressed in title 11.

      Turning to the majority’s contrary conclusion, I consider its assertion

that the statutory scheme and related statutes demonstrate that the

percentage fee is irrevocable and that consideration of the Bankruptcy

Code is unnecessary: first, that the formula for determining excess fees

supports their interpretation; second, that fees are “separated” from

amounts to be paid to creditors, and there is no provision for

“recombining” them; and third, that statutes setting other types of fees are

relevant in determining whether standing trustee fees are refundable.

      While these assertions are not entirely implausible, they illustrate the

analytical risk inherent in manufacturing a rationale to support the

conclusion one would like to make. These assertions are speculative and

unsupported by reference to any statutory text or legislative history, and in

some cases represent extremely strained analogies.

      I begin with the majority’s assertion that the formula for determining

excess fees presumes that the trustee keeps all the fees collected from plan

payments because if she refunds some of those fees, her compensation ends

up capped at an amount less than that fixed by statute, and “a trustee

cannot pay excess fees to the UST unless she has first obtained ownership

of those fees.” While a lower than intended cap might plausibly result were
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a trustee required to refund fees in unconfirmed cases, the majority cites no

authority or any examples of where this has actually occurred in

jurisdictions where courts do not permit the retention of chapter 13

standing trustee fees in an unconfirmed case.

      Next, the majority asserts that § 586(e)(2) implicitly requires the

trustee to allocate payments received under plans into two categories—one

for payments to creditors and the other for statutory fees. The majority

then argues that the lack of an explicit provision for “recombining” these

amounts means that the funds representing the fees must be retained. The

premise of this argument is that the word “collect” means “irrevocably

collect.” But nothing in the statute mandates either separation or

irrevocability; rather, the notion of an irrevocable separation is merely the

analytical predicate for the arguments the majority wishes to make. In fact,

the Bankruptcy Code treats plan payments as a unit, even though those

payments implicitly include trustee fees. The Code provides no remedy for

a failure solely to pay trustee’s fees. See § 1307(c)(4) (case may be converted

or dismissed for “failure to commence making timely payments under

section 1326 . . . [.]”). Moreover, standing trustees are required to keep

accurate records of funds received and to allocate the amounts

representing the statutory fee.11 Given that money is fungible, fees may be


      11
             The trustee must transfer the percentage fee to the operating
      expense account at least monthly. If the plan is dismissed or converted
      prior to confirmation, the standing trustee must reverse payment of the
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allocated on the trustee’s books as earned or unearned. Nothing in the

Code prohibits the “recombining” of amounts representing statutory fees

and those representing funds to be paid to creditors.

       The majority also attempts to analogize standing trustee fees to filing

fees under 28 U.S.C. § 1930, pointing out that such fees are nonrefundable.

It cites nonbinding authority characterizing statutory trustee fees as “user

fees.” In re Turner, 168 B.R. 882, 887-88 (Bankr. W.D. Tex. 1994). But this

analogy is flawed—unlike § 586(e), no one would argue that the filing fee

statute requires reference to other provisions of the United States Code that

govern how and when they are paid. Moreover, filing fees are a threshold

requirement, while statutory trustee fees are not: a chapter 13 case may be

commenced without any payment to the trustee. And as noted above, the

Code provides no remedy for a failure solely to pay trustee’s fees.

       Finally, as discussed below, if § 586(e) dictated that statutory trustee

fees were nonrefundable or irrevocable, there would have been no need for

Congress explicitly to address this issue in §§ 1226 and 1194 of the

Bankruptcy Code.




       percentage fee that had been collected upon receipt if there is controlling
       law in the district requiring such reversal or if (after consultation with the
       United States Trustee) the standing trustee determines that there are other
       grounds for concern in the district.

U.S. Dep’t of Just., Exec. Office for the U.S. Tr., Handbook for Chapter 13 Standing Trustees
2-4 (revised October 1, 2012).
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   D. Reading § 1326 in conjunction with related bankruptcy statutes
      leads to the conclusion that standing trustees are not entitled to
      retain statutory fees when a case is not confirmed.

      Although § 1326 fails to address whether a standing trustee must

return any fees collected when a case is dismissed pre-confirmation, the

conclusion that those fees must be returned is not inconsistent with the

language of the statute or its context; and consideration of parallel statutes

leads to a strong inference that the fees must be returned.

      1.    Section 1326 is silent as to whether a standing trustee retains
            her fees if a case is dismissed pre-confirmation, and the
            context of the statute does not mandate an affirmative answer
            to that question.

      Of course, § 1326 does not overtly address the issue before the

Panel—that is precisely the problem. Subsection (b) of § 1326 specifies that

statutory fees and administrative claims must be paid before creditors are

paid “under the plan.” I disagree with the majority’s conclusion that

because that subsection does not state that the fee is paid under the plan, it

is consistent with the conclusion that the trustee’s collection of its fee under

§ 586(e)(2) is irrevocable. Payments are not made “under the plan” until a

plan is confirmed. Subsection (b) has no bearing on the disposition of the

funds representing statutory fees when a plan is not confirmed. That

situation is addressed in subsection (a), which states that if a plan is not

confirmed, the trustee must return all funds being held after deducting any

allowed and unpaid administrative claims.
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      The majority asserts one contextual argument in support of its

conclusion that subsection (a) implicitly recognizes that standing trustee

fees are earned when collected. Specifically, the majority points out that if

the trustee in the case is one appointed under § 1302, that trustee would be

entitled to be paid, but a standing trustee would not. While at first glance

this hardly seems like the right result, one must also consider that fees

awarded to a trustee appointed under § 1302 are applied for on an

individual basis and are awarded based on the actual hours expended and

work accomplished in the case. In contrast, standing trustee compensation

is purposely structured to streamline the process and achieve an overall

balance:

      Rather than enmire the courts in the laborious business of
      setting fees in individual cases—many of them small in terms of
      assets, and some of them bone-dry—the Code and Title 28
      authorized the Attorney General to fix the allowances of
      standing trustees on a yearly basis. An overall sense of balance
      thus became achievable. The “no asset” or “meagre assets”
      cases can be handled professionally, because the system is not
      dependent upon each individual matter to generate its own
      fees. To the contrary, the Attorney General considers the
      volume of cases committed to the trustee, reviews the trustee's
      program-related expenses for the prior year, and projects the
      amount of funds that will be handled during the upcoming
      year. This overall forecast—rather than the vicissitudes of each
      individual filing—becomes the cynosure of the fee calculation.


In re Savage, 67 B.R. 700, 706 (D.R.I. 1986).

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      Unlike the majority, I find it persuasive that Congress chose to

address the refundability of statutory trustee fees in two parallel statutes,

explicitly providing that those fees may be retained by the trustee in cases

under chapter 12 and subchapter V of chapter 11. Consideration of the

legislative history provides a strong inference that Congress intentionally

omitted such a provision from § 1326(a).

      In the 1984 amendments to the Code, Congress added to § 1326 the

text, “If a plan is not confirmed, the trustee shall return any such payments

to the debtor, after deducting any unpaid claim allowed under section

503(b).” The only relevant change made to that sentence in the ensuing

years was the 2005 addition, after the word “payments,” of the clause “not

previously paid and not yet due and owing to creditors pursuant to

paragraph (3).”

      2.    Congress’ later amendments to the Bankruptcy Code make
            clear that disposition of a standing trustee’s fee is governed
            by the Bankruptcy Code and create a strong negative
            inference that such fees may not be paid to a chapter 13
            trustee when a case is dismissed prior to confirmation.

      Congress has twice amended the Bankruptcy Code, in 1986 with

respect to standing trustees under chapter 12, and in 2019 with respect to

standing trustees under subchapter V of chapter 11—each of whose

compensation is, like chapter 13 standing trustees, set by § 586(e) of the

Judicial Code—directly to address the question whether such trustees may

retain funds that comprise their statutory fees in cases dismissed before
                                       49
         Case:
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confirmation of plans. In each case, the simple, direct, unambiguous

statutory answer, contained in §§ 1226 and 1194, respectively, was “Yes.”

      As discussed below, I believe that these amendments create a clear

negative inference that chapter 13 trustees may not retain such fees in cases

with unconfirmed plans.

      Not surprisingly, the majority disagrees and argues that such

amendments are not indicative of congressional intent to deny chapter 13

trustees their fees, because the context of chapter 13, on the one hand, and

chapter 12 and subchapter V of chapter 11, on the other, are different. I

address these particular issues below.

      But, more troublingly, the majority suggests that these subsequent

amendments raise no fundamental interpretive issues, because the

amendments in question were enacted after Congress enacted § 586(e) of

the Judicial Code, which the majority believes is the sole authority on any

questions concerning the amount of compensation and timing of payment

to standing trustees. Therefore, the amendments do not constitute the

“same law,” and it cannot be inferred that Congress was attempting to

address through these amendments an issue with the prior version of the

statute. The majority therefore dismisses as a mere redundancy or a

potential inconsistency any difference in treatment between fees payable to

trustees under §§ 1226, 1326 and 1194 of the Bankruptcy Code.

      I believe that this approach is seriously flawed.


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         Case:
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      The majority’s insistence that § 586(e) is the sole source of authority

for the issue presented in this matter and that subsequent amendments to

the Bankruptcy Code constitute a “new” or “different” law creates a fatally

circular error. Whether § 586 is or isn’t the sole source of authority in this

matter is the principal interpretive question before us, and we shouldn’t

assume the answer; and, of course, §§ 1226 and 1194 are “newer” and

“different” laws; indeed, that’s the point—Congress chose to speak directly

to this issue via amendments to the Bankruptcy Code.

      That Congress chose to speak so directly and unambiguously to this

exact question in enacting chapter 12 (contemporaneously with

amendments to § 1326) and then again 33 years later in enacting

subchapter V of chapter 11 does not make such actions mere redundancies

or irrelevant later amendments; rather, they are the strongest possible

indication of congressional intent to resolve this recurring issue through

provisions of the Bankruptcy Code. And that Congress chose so to act,

without even a reference to the Judicial Code, or § 586(e), or the concept of

“collect[ing] such percentage fee”, is equally indicative that the Judicial

Code is not the source of authority on the question whether standing

trustees may retain their fees in chapter 13 cases dismissed before

confirmation.

      It would be difficult to imagine more direct and explicit indications of

Congress’ intent with respect to this fundamental interpretive issue.


                                       51
             Case:
           Case    20-1168, Document:
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      In 1986, Congress enacted chapter 12 and included in § 1226 the

provision that if a plan is not confirmed, the trustee must return payments

received by the trustee after deducting administrative claims and standing

trustee percentage fees. Although Congress also amended § 1326(b) in

1986, it did not amend § 1326(a).

      And Congress amended the Code again in 2019 when it passed the

Small Business Reorganization Act, which added § 1194 to subchapter V of

chapter 11. Section 1194 is similar to § 1226 in providing that if a plan is not

confirmed, the trustee must return any payments it is holding to the debtor

after deducting unpaid administrative claims and “any fee owing to the

trustee.” 12 Again, Congress did not amend § 1326.

      There are plausible policy reasons why Congress might have chosen

to treat trustee fees differently in chapter 13. As noted above, the statutory

percentage fee structure was designed to provide overall balance in trustee

compensation. Chapter 13 is designed to be a relatively “fast-tracked”

process. Payments must commence within 30 days of the earlier of the

filing of the plan or the order for relief. 11 U.S.C. § 1326(a)(1). A plan must

be filed within 14 days after the petition date, Rule 3015(b), and a

confirmation hearing must be held between 20 and 45 days after the

§ 341(a) meeting of creditors. 11 U.S.C. § 1324. In contrast, chapter 11 and


      12
        Section 1194 also requires the trustee to deduct “any payment made for the
purpose of providing adequate protection of an interest in property due to the holder of
a secured claim[.]”
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12 cases follow a more elongated timeline. Regardless of how the chapter

13 process plays out in the real world, Congress may have assumed that

there was little danger of a trustee being “cheated” out of compensation by

virtue of administering a case for months or years, only to have the case be

dismissed before confirmation.

   E. Conclusion

      This dissent ends largely where it began: I agree with the majority

that, particularly in light of the practicalities and equities of administering

chapter 13 cases, the better answer to the question before us is that chapter

13 trustees should be permitted to retain their statutory fees if a case is

dismissed before confirmation. But I simply do not read the relevant

statutes to permit that result; and nor do most courts that have examined

the issue. Most importantly, the majority’s approach—insisting that § 586

and the word “collect” are the sole authority on the issue, forcing strained

readings of related statutes, making faulty analogies to unrelated statutes,

and ignoring contrary indications in the legislative history and relevant

Bankruptcy Code provisions, make it impossible for me to join in their

conclusion, and cause me deeply to question the soundness of their

method.

      For all the reasons outlined above, I would affirm.




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